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Attorney for Plaintiffs

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

AL AZAWI, Meaad Jawhar Salman;
AL RUBAYE, Huda;
AL AZAWI, Abdulrahan,

Plaintiffs,
vs.

United States Department of State, Antony J.
Blinken, Secretary of State of the United
States., Carl C. Risch, Assistant Secretary of
State for Consular Affairs; Stephen Biegun,
Deputy Secretary of State; Catherine Barry,
Senior Advisor at U.S. Department of State;
Henry Wooster, Charge d’Affaires of U.S.
Embassy in Amman, Jordan, United States
Embassy in Amman, Jordan; Christine
Parker, Chief, Outreach and Inquiries Division
of Visa Services in the Department of State,

Defendants.

 

 

 

 

Case No.:

COMPLAINT FOR DECLARATORY AND
INJUNCTIVE RELIEF AND FOR A WRIT
IN THE NATURE OF IMMIGRATION
MANDAMUS

INTRODUCTION

-1. This action is brought by Plaintiffs to compel Defendants and those acting under them to

take action on Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi’s immigrant visa

applications.

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF

IMMIGRATION MANDAMUS - 1

 

 
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2. Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi are eligible to have their
visa applications adjudicated. Plaintiff Huda Al Rubaye is the spouse of Plaintiff Meaad Jawhar
Al Azawi and Plaintiff Abdulrahan Al Azawi is the son of Plaintiff Meaad Jawhar Al Azawi.

3. Plaintiff Meaad Jawhar Salman Al Azawi filed an I-360 Special Immigrant Visa Petition
on December 3, 2014. The petition was based on Plaintiff Meaad Jawhar Salman’s Al Azawi’s
assistance to US armed forces in Iraq. (Exhibit A- Statement of Meaad Jawhar Salman Al
Azawi) The petition was approved and then transferred to the National Visa Center on or about
September 8, 2016. Plaintiff Meaad Jawhar Salman Al Azawi thereafter submitted the required
documentary information to the Consular Electronic Application Center and subsequently, he
and Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi were scheduled for their
consular interviews at the US Embassy in Amman, Jordan, to take place on February 28, 2017.

4. Plaintiffs attended their scheduled visa interviews on February 28, 2017. The consular
officer who interviewed Plaintiff Meaad Jawhar Salman Al Azawi told him afterwards,
“Congratulations, Sir, your visa has been approved.” However, the officer did not issue visas
for Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi.

5. Plaintiff Meaad Jawhar Salman Al Azawi received his visa on April 4, 2017 and came to
the United States shortly thereafter and is now a Lawful Permanent Resident, however, neither
Plaintiff Huda Al Rubaye nor Plaintiff Abdulrahan Ai Azawi have yet received their visas and
are still awaiting them in Amman, Jordan.

6. Multiple inquiries fo the Embassy in Amman, Jordan and the Consular Office with the

Department of State indicate that Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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visa applications are still undergoing administrative processing (Exhibit B— Correspondence
between Plaintiffs and Consular and Congressional authorities).

7. ‘The delay has caused significant psychological distress, depression, and suffering on
Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi. Specifically, in April of 2018,
Plaintiff Abdulrahan Al Azawi was diagnosed with cancer and on July 23, 2018, he underwent
surgery, at this time his medical condition is guarded. (Exhibit C — Medical Reports regarding
Abdulrahan Al Azawi). Having to remain in Amman, Jordan with only his mother, separated
from his father and three sisters in the United States, causes him depression and lowers his
chances of making a full recovery from his cancer.

8. Defendants have violated the Administrative Procedures Act (“APA”) by failing to
process and issue a final decision on Plaintiffs’ visa application which has been pending now for
over four years. Plaintiffs seek to compel Defendants, through a writ of mandamus, to either
grant or deny Plaintiffs’ pending visa applications.

PARTIES

9. Plaintiff MEAAD JAWHAR SALMAN AL AZAWI is a lawful permanent resident
residing in Victorville, California. He became a lawful permanent resident as a result of an
approved ]-360 Petition for Special Immigrant Visa which he received on April 4, 2017.

10. Plaintiff HUDA AL RUBAYE is the spouse of Plaintiff MEAAD JAWHAR SALMAN
AL AZAWI and is a derivative beneficiary of his approved J-360 Petition for Special Immigrant

Visa.

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11. Plaintiff ABDULRAHAN AL AZAWT1 is the son of Plaintiff MEAAD JAWHAR
SALMAN AL AZAWI and is a derivative beneficiary of his approved I-360 Petition for Special
Immigrant Visa.

12. Defendant UNITED STATES DEPARTMENT OF STATE (hereinafter “State
Department”) is an agency of the United States government involved in the acts challenged,
employs the officers named as defendants, and includes the U.S. Embassy in Jordan, its Charge
d’ Affaires, and officers named as defendants in this complaint.

13. Defendant ANTONY J. BLINKEN. (hereinafter “Secretary Blinken”) is sued in his
official capacity as the Secretary of State, as the head of the Department of State, as he is
charged with the administration and the enforcement of immigration and nationality laws relating
to the powers, duties, and functions of diplomatic and consular officers of the United States.

14. Defendant CARL C. RISCH (hereinafter “Assistant Secretary Risch”) is sued in his
official capacity as the Assistant Secretary of State for Consular Affairs, as he is charged with
oversight of all consular, including visa, matters.

15. Defendant STEPHEN BIEGUN (hereinafter “Deputy Secretary Biegun”) is sued in his
official capacity as the Deputy Secretary of State, as he is charged with acting as deputy to the
Secretary of State, which deals with the enforcement of immigration and nationality laws, which
includes duties and functions of diplomatic and consular officers of the United States.

16. Defendant CATHERINE BARRY (hereinafter “Senior Advisor at U.S. Department of
State”) is sued in her official capacity as the Senior Advisor of the U.S. Department of State, as

she is charged with all matters relating to visas and the administration of visa-related laws.

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17. Defendant HENRY WOOSTER (hereinafter “Charge D’ Affaires Wooster”) is the
Charge d’ Affaires of the U.S. Embassy in Beirut, Lebanon. This suit is brought against Charge
D?’ Affaires Wooster in his official capacity, as he is charged with matters relating to the consular
affairs in the U.S. Embassy in Amman, Jordan.

18. Defendant UNITED STATES EMBASSY IN AMMAN, JORDAN is a mission within
Defendant Department of State and is involved in the acts challenged in this action. The United
States Embassy in Amman, Jordan is responsible for processing Plaintiff HUDA AL RUBAYE
and Plaintiff ABDULRAHAN AL AZAWI visa applications.

19. Defendant CHRISTINE PARKER (hereinafter “Chief Parker”) is the Chief of Outreach |
and Inquiries in the Visa Division of Visa Services in the Department of State. This suit is
brought against Chief Parker in her official capacity, as she is charged with all matters relating to
inquiries in the Visa Division.

JURISDICTION

20. The Administrative Procedure Act recognizes a right of judicial review for any person
“suffering legal wrong because of an agency action or aggrieved or adversely affected by such
action within the meaning of any relevant statutes.” 5 U.S.C. § 702. Plaintiffs suffered a legal
wrong and continue to suffer because of the Defendants’ failure to act upon the pending
immigrant visa application for indefinite periods of time.

21. This Court has jurisdiction over the present action pursuant to 8 C.F.R. § 204,
Immigration & Nationality Act §203 (b)(1)(C); 28 U.S.C. § 1131; 28 U.S.C. §1361, the

Mandamus Act; 28 U.S.C. §2201, the Declaratory Judgment Act; and 5 U.S.C. §701-706, the

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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Adininistrative Procedures Act. Costs and attorney fees will be sought pursuant to the Equal
Access to Justice Act, 5 U.S.C, §504 and 28 U.S.C. §2412(d), et seq. Relief is requested pursuant
to said statutes.

VENUE

22, Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(e), which provides that in a
civil action in which each defendant is an officer or employee of the United States or any agency
thereof acting in his or her official capacity, or under the color of legal authority, or any agency
of the United States, the action may be brought in any judicial district in which a plaintiff
resides, so long as no real property is involved in the action. Plaintiff Meaad Jawhar Al Azawi
resides in Victorville, California, which is located in the Central District of California. No real
property is involved tn this action. Therefore, venue is proper in this Court.

EXHAUSTION OF REMEDIES

23. Plaintiffs have no administrative remedies. Plaintiffs have made numerous inquiries to
the Embassy in Amman, Jordan since their interviews on February 28, 2017, to no avail.
Plaintiff Meaad Jawhar Salman Al Azawi has also engaged in numerous communications with
Congressional representatives about the status of his spouse and son’s pending visa applications
without receiving any definitive response. There are no administrative remedies for neglect of
duty.

CAUSE OF ACTION
24. On December 3, 2014, Plaintiff Meaad Jawhar Salman Al Azawi submitted an I-360

Petition for Special Immigrant Visa for himself, and his derivative family members, that is, his

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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wife Plaintiff Huda Al Rubaye and his son Plaintiff Abdulrahan Al Azawi, to United States
Citizenship and Immigration Service. The I-360 Petition was approved and Plaintiffs were all
called to an consular interview on February 28, 2017 at the US Embassy in Amman, Jordan at
which time Plaintiff Meaad Jawhar Al Azawi was approved to receive a Visa. On April 4,
2017, Plaintiff Meaad Jawhar Al Azawi received his Visa and subsequently came to the United
States and became a Lawful Permanent Resident.

25. Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan Al Azawi have not received their
visas to join Plaintiff Meaad Jawhar Al Azawi in the United States, rather, they have been
repeatedly told their cases are currently on hold in “administrative processing” and, after
numerous inquiries, there is no indication of when that process may be completed.

26. Under 28 U.S.C. § 1361, the district courts shall have original jurisdiction of any action
in the nature of a mandamus to compel an officer or employee of the United States or any agency
thereof to perform a duty owed to the plaintiff.

27. Under the Administrative Procedures Act, a person suffering legal wrong because of
agency action, or adversely affected or aggrieved by agency action within the meaning of a
relevant statute, is entitled to judicial review thereof.

28. Administrative processing, according to the Department of State website, takes around
60 days. It has more than 4 years since the interview date. Even if we take into account the fact
that the Consular office provided an estimate of 1-6 months, this has been going on for far

longer.

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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29. Beginning shortly after Plaintiffs February 28, 2017 interview and continuing up to the
present date, Plaintiffs have communicated with the National Visa Center, the Embassy in
Amman Jordan and appropriate Congressional leaders to ascertain the status of the pending visa
applications, but no relevant information has been forthcoming.

30. The issuance or denial of visas is the responsibility of the consular officers and was
conferred by the Immigration and Nationality Act of 1952. Li Hing of Hong Kong, Inc. v. Levin,
800 F.2d 970, 971 (9" Cir. 1986); 8 U.S.C. § 1201(a)(1)(2004); 8 U.S.C. §§ 1101(a)(9), (16)
(2004). The INA which governs visa processing “confers upon consular officers exclusive
authority to review applications for visas.” Saavedra Bruno vy. Albright, 197 F.3d 1153, 1156
(D.C. Cir. 1999); INA § 201(b)(2)(A)(i).

3 1. No judicial or administrative review is available for a consular officer’s decision to issue
or deny a visa as this has been held to be a discretionary duty. Patel v. Reno, 134 F.3d 929, 931
(9" Cir. 1997); Li Hing of Hong Kong, Inc., 800 F.2d at 971.

32. The Court in Pate/ established that the non-reviewability doctrine is inapplicable when a
consular officer fails to follow his or her discretionary duties, and that failure to make a decision
to issue or deny a visa is such a non-discretionary duty. See Patel, 134 F.3d at 931. The APA is
to seek redress for unreasonable delays. Courts use factors to determine the unreasonable delays.
Telecommunications Research and Action Center v. FCC, 750 F.2d 70 (D.C. Cir. 1984). The
Court considers whether the time an agency takes to render a decision 1s governed by rule of law.
where Congress has provided a time table, delays in the realm of economic regulation are less

tolerable when human health and welfare are at stake, consideration of the effect of expediting

COMPLAINT FOR DECLARATORY AND INJONCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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delayed action on agency actions of higher or competing priority, nature and extent of interests
prejudiced by delay, and the impropriety of agency lassitude is not required to find that the
agency action has been unreasonably delayed. Id.

33. Per 22 C.F.R. § 42.81 (a), action on a visa application by the consular officer is
mandatory. The consular officer must either issue or refuse the visa. Under the State
Department’s Foreign Affairs Manual, Section 237 of Public Law 106-113 and subsequent
legislation requires that the Department establish a policy under which immediate relative (and
fiancé(e)) visas be processed within 30 days of receipt of the necessary information from the
applicant and the Department of Homeland Security (DHS); all other family-based immigrant
visas (IV) must be processed within 60 days. The Department expects all posts to strive to meet
the 30/60-day requirements.” See 9 FAM 504.7-2.

CLAIM FOR RELIEF

34. Plaintiffs’ claim in this action is clear and certain. Plaintiffs’ reallege paragraphs 1
through 33, and, as if fully set forth, Plaintiffs are entitled to an order in the nature of mandamus
to compel Defendants to complete administrative processing and issue the visa for Plaintiff Huda
Al Rubaye and for Plaintiff Abdulrahan Al Azawi.

35. As aresult of Defendants’ failure to perform their duties, Plaintiffs have suffered, are
suffering, and will continue to suffer irreparable harm. Specifically:

36. Plaintiff Meaad Jawhar Salman Al Azawi has been anxiously waiting for his spouse and
son’s visa applications to be approved. He fears for their continued safety and is rightly

concemed because they do not have any family or friends in Amman, Jordan and do not know

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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what will happen to them. The prolonged separation of Plaintiffs’ family is causing needless
suffering and there is no indication of when it will end.

37. Plaintiffs’ lives are completely in the hands of the Department of State during this
interminable pendency of the applications. Plaintiff Huda Al Rubaye and Plaintiff Abdulrahan
Al Azawi have been deprived of the substantial benefits of being able to join Plaintiff Meaad
Jawhar Salman Al Azawi in the safety of the United States. These benefits include ability to
enter and stay in the United States and the right to work in the United States. Because of these
unconscionable delays, Plaintiff Meaad Jawhar Salman Al Azawi has been separated from his
wife and son for a very long time.

38. In failing to act on these applications, Defendants are acting directly in contradiction of
the congressional intent, to promote family unity, for relatives of lawful permanent residents.

39. The Defendants, in violation of the Administrative Procedures Act and 22 C.F.R.
42.81(a), are unlawfully withholding or unreasonably delaying action on Plaintiff Huda Al
Rubaye and Plaintiff Abdulrahan Al Azawi’s applications and have failed to carry out the non-
discretionary adjudicative functions delegated to them by law with regard to Plaintiffs’ case.

40. The duty of the Defendants is non-discretionary, ministerial, and so plainly described as
to be free from doubt that mandamus is appropriate.

41. Plaintiffs have made numerous attempts to secure a final decision, all to no avail. Only
consular officers are able to make decisions on visa issuance or denial, leaving no adequate

remedy. Accordingly, Plaintiffs have been forced to pursue the instant action.

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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42. WHEREFORE, in view of the arguments and authorities noted herein, Plaintiffs

respectfully pray that the Defendants be cited to appear herein and that, upon due consideration,

the Court:

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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. Declare as unlawful the violation by Defendants of failing to act on an approved

. Issue a preliminary and permanent injunction pursuant to 28 U.S.C. § 1361 and $

PRAYER

Accept jurisdiction and maintain continuing jurisdiction of this action;

relative petition, and properly filed visa applications;
Declare Defendants’ failure to carry out the adjudicative functions delegated to
them by law with regard to Plaintiffs’ case as agency action unlawfully withheld

and unreasonably delayed, pursuant to 5 U.S.C. § 706(1);

U.S.C. § 706(1) compelling the Defendants to take action on Plaintiff Huda Al
Rubaye and Plaintiff Abdulrahan Al Azawi’s applications, to notify them whether
their applications have been granted or denied, and if granted, of the procedures to
be followed for the receipt of their visas;

Issue a writ in the nature of mandamus pursuant to 28 U.S.C. § 1361 and 5 U.S.C.
§ 706(1), compelling the Defendants to take action on Plaintiff Huda Al Rubaye
and Plaintiff Abdulrahan Al Azawi’s applications by either approving or refusing
said applications, and if the applications are refused, that the decision include
justification to preclude the sense of retaliation for having brought this lawsuit or

having exposed the Defendants’ neglect;

 

 
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f, Grant attorney’s fees and costs of this suit under the Equal Access to Justice Act,
28 U.S.C. § 2412;

g. Grant such other relief at law and in equity as justice may require.
Dated this March 22, 2021 Respectfully Submitted,

/s/ Evan Hu

 

Evan Hu, Esq.
Counsel for Plaintiffs

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
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LIST OF EXHIBITS TO COMPLAINT FOR DECLARATORY AND INJUNCTIVE

RELIEF AND FOR A WRIT IN THE NATURE OF IMMIGRATION MANDAMUS

AL AZAWI v. UNITED STATES DEPARTMENT OF STATE, et al.

 

 

 

 

 

 

 

Exhibit Page
A Statement of Meaad Jawhar Salman Al Azawi 1-2
B Index and correspondence between Plaintiffs and Consular and 3-4]
Congressional Authorities
Cc Medical Reports regarding Abdulrahan Al Azawi 42-43

 

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EXHIBIT A

 
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April 25, 2018
Re: Special immigrant Visa
Case Number: AMM2016771006

Principal Applicant: Meaad Jawhar Salman Alazawi, a citizen of Iraq

Dear Sir or Madam,

My name is Meaad Jawhar Salman Alazawi. [am a Lawful Permanent Resident of the United
States and a citizen of Iraq. For my work in assisting the U.S. government in Iraq, | was granted a Special
Immigrant Visa, which was supposed to allow me and my wife and children to live safely in the United
States. | was approved for the visa, but my wife and minor son have not yet been approved. | have been
a U.S, resident since May 2017. | am writing to you today in hopes that you will be able to assist my
wife, Huda Mohammed Ali Hamza Alrubaye, and my son, Abdulrahman Meaad Jawhar Alazawi, with
their Special Immigrant Visa applications. Their applications are currently pending at the U.S. Embassy
in Amman, Jordan. Their applications have been in "administrative processing" since February 2017-
more than a year.

| originally applied for a Special Immigrant Visa for myself and for my wife and my son on
November 24, 2012. Chief of Mission approval was received on November 13, 2014, and we sent the 1-
360 applications on December 3, 2014. On December 5, 2014, we received USCIS Form 1-797, Notice of
Action by regular mail at our home in Iraq. Our family had received threats before due to my.work, but
suddenly, the situation got much more dangerous. We fived in an area controlled by the Shia militia.
People had seen the USCIS envelope being delivered to our home and word traveled fast. Soon the
entire neighborhood knew that we were applying for SIVs, which made us a target. We received a
threatening letter from the militia and had to flee our home in Baghdad. | went to Irbil, rag with my 3
daughters and son at first. Then, we left Iraq to Jordan to join my wife, and found temporary safety in
Amman. My three daughters moved to the United States in 2016, where they are living now.

On September 8, 2016, we received a Department of State case number AMM2016771006 for
our applications. We sent in our civil documents to the National Visa Center and submitted the
requested 05-260 applications online via the Consular Electronic Application Center. We were scheduled
for an interview at the U.S. Embassy in Amman on February 28, 2017. We sent in additional documents,
completed the required medical examinations, and attended the interview at 1:00 PM as scheduled. At »
the end of the interview, the consular officer told me: “Congratulations, Sir, your visa has been
approved." My visa was issued on April 4, 2017; however, more than a year has passed and my wife

and son have not received their visas, nor have they received any notice or request for additional
~ documents. The consulate is just silent. It is as though my family does not deserve anyone's attention.

| came to the United States on my visa and as stated above, | am now a green card holder. We
were not allowed to work in Jordan and we had left behind everything we owned when we fled Iraq. My
daughters are now in the United States, while my wife and son are stuck in Jordan. They cannot work,

 
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they have no relatives or close friends there, and they do not know whatwill happen to them. Weare
suffering from the separation and we have no idea whenitwillend.

Our daughter, Ragda Meaad Jawhar Alazawi, got married in 2017. My wife Huda was able to get
a B2 tourist visa to come to our daughter's wedding in the United States. My son Abdulrahman's B2 visa
application was denied and he missed the wedding. My wife could have adjusted herstatus while inthe
United States, but she chose to go back to Jordan to be with ourson. She could notleave him behind.
Now, they are both waiting for their SIV cases to move alongand our family is splitin two.

| have asked for updates fromthe Embassy in Amman. All | have been told is that the case is
pending “administrative processing" pursuantto Section 201(c)(3) of the Enhanced Border Security and
Visa Entry Reform Act of 2002 (PublicLaw 107-173}. | also reached out to Congressman Paul Cook's
office to request assistance in the case, but his office refused to take any action until the administrative
processingis done. Ithas now beenovera year since our interview, almosta year and a half since we
submitted the DS-260 forms, and more than five years since we started the SIV application process. __
How long should it take to determine that my wife and son are nota threat to the United States when
my application was approved shortly after the consular interview?

My famtlyis separated and livingin fear. Ido not believe my wife and son are safe until they can
come to the United States. My wife and son depend on ime forfinancial support. | am struggling to pay
rent for one house inthe United States and another one inJordan, My daughter Noor recently had her
first child, and my other daughter Ragda will have her first child in few months, itis extremely hardfor
my wife to notbe able to support her daughters during thistime and to not be able to see her .
grandchildin the U.S. Our son will be ,21 years oldon November 14, 2018 and he wil! "age out" of
eligibility for the visa. | am afraid of what will happen to himif his case is not approved by then. He
cannot workinJordan, -he cannot return to iraq because of the threats against his life, and he will
become ineligibleforthe SIV visa as my child as soon as he turns 21,

My wife and son are not threats to the United States. In fact, our family hasbeenin serious
danger over the years because | have worked with American nongovernmental organization funded by
USAID in Iraq. All we want now isto live together in safety in the United States. i was fortunate to
receive my visa quickly after the consularinterview in Amman. Forsome reason, theircases have been
stuck inadministrative processing and there is no indication when the process will be complete. lask
that you help our family in any way that you can so that wé can be togetherasa family inthe United
States. If you need any additional information atall, task that you kindly contact myself at (760) 646-

2607, or Alazawy62@gmail.com; or my Attorney of Record, Margaret Stock at (907) 242-5800 or
mstock @cascadialawalaska.com.

Respectfully yours,

Xx =
Meaad Jawhar Salman Alazawi

"TAT / ol
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 17of60 Page ID#:17

EXHIBIT B

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 18o0f60 Page ID#:18
INDEX OF COMMUNICATIONS BETWEEN PLAINTIFFS AND AUTHORITIES

 

2/4/21 E-Mail from US Rep. Jay Obernolte to Meaad Al Alzawi Pgs. 3-6

 

1/25/21 E-mail from US Rep. Jay Obernolte to Meaad Al Alzawi Pg.7

 

12/2/20 E-mail from US Rep. Jay Obernolte to Meaad Al Alzawi with | Pgs. 8-10
forwarded E-mail from US Embassy, Jordan

 

10/27/20 E-mail from US Rep. Paul Cook to Meaad Al Alzawi with Pes. 11-14
forwarded E-mail from Department of State

 

 

 

 

 

 

 

8/19/20 E-mail from US Rep. Paul Cook to Meaad Al Alzawi with Pgs. 15-18
forwarded E-mail from National Visa Center and US Embassy, Jordan

3/23/19 E-mail from Meaad Al Alzawi to US Embassy, Jordan Pgs. 19-23
2/20/19 E-mail from US Rep. Paul Cook to Meaad Al Alzawi with Pgs. 24-26
forwarded E-Mail from US Embassy, Jordan

7/27/18 E-mail from US Rep. Paul Cook to Meaad Al Alzawi Pgs. 27-30
8/4/18 E-mail from Huda Al Rubaye to US Embassy, Jordan Pgs. 31-34
5/21/18 Email from US Rep. Don Young to Meaad Al Alzawi Pgs. 35-37
5/3/18 Email form US Sen. Dan Sullivan to Meaad Al Alzawi Pgs. 38-39

 

 

 

4/25/18 E-mail from Cascadia Cross-Border Law to Meaad Al Alzawi | Pgs. 40-41

 

 

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 19o0f60 Page ID#:19

Associate 3

 

Een ee ren a
From: MJS <alazawy62@qmail.com>

Sent: Tuesday, March 16, 2021 4:50 PM

To: Associate 3

Subject: Fwd: FW: Congressional Inquiry/Alazawy

Attachments: PRF ALAZAWY.pdf

Mr Michael Fyi

soooeecoee Forwarded message ---------

From: Villa, Laura <Laura.Villa@mail.house.gov>
Date: Thu, Feb 4, 2021 at 10:15 AM

Subject: FW: Congressional Inquiry/Alazawy
To: MIS <alazawy62 @gmail.com>

Good morning Dear,

i forwarded the email | sent last week to the Jordan embassy. | hope we have goad news soon. Thank your for keeping
reaching out into your family’s case.

“Dear Congressional Liaison,

Attached is the Privacy Release Form for Mr. Alazawy who would like the status of his case. If you can please review it
and response with any comments and/or consideration.”

Thank you,

Leura Va

Field Representative
Congressman Jay Obernolte
8 District of California

9700 Seveth Avenue

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 20 0f 60 Page ID #:20

Hesperia, Ca 92345
Office: 760-247-1815

Laura. Villa@mail.house.gov
 

 

 

 

 

 

 

 

 

 

Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 210f60 Page ID#:21
- Page 1 of 2
Office of Jay Obernolte
Digital Privacy Release Form
Compkie the form below to request help with a Federal Agency. When complete, click Submit to send to our office for assistance,
Fields marked with * are required
Please Provide Applicable Identifying Information
Agency Involved
US. Citizenship and Immigration Services
Petitioner Applicant Fist Name Petitioner Applicant Last Name
Meaad ALazawi
Petitioner Applicant DOB Petitioner Applicant Country of Birth Petitioner Applicant Alien Number
9/5/1961 Iraq tawbj-cabcEEkoxna
Beneficiary First Name Beneficiary Last Name
Huda Alnubaye
Beneficiary DOB Beneficiary Country of Birth Beneficiary Alien Nuober
“6/15/1963 Iraq rawhjj-cabcBPkoxa’
USCIS Receipt or Tracking Number
AMMZ016771006
Fonn Types Date of Filing
1/22/2021
Prefix First Name Mis Last Name Agency Case Number
Mr Maeed __ _Alwawi NA
Email Address Phone Number
alazawy62@email.com 7606465607
Street Address Line 1 Street Address Line 2 City State Ap Code
12445 Basswood LN Victorville CA 92395

 

Please explain the problen:

 

 

 

Special Inmmngrant VISA with case number AMM201677 1006

T amcontacting ny local Congressman office asking for help to fallowing up my wile Huda Mohammed Ali Hanva AL-Rubaye and son Abdulahman Measad Jawhar Al Azawi

 

 

Section below to be completed by the person who is the subject of the records:
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 22 of 60 Page ID #:22,. 9 oo

 

BX] I certify, under penalty of perjury, that 1) E provided or authorized all of the information in this privacy rekase and any document submitted with it; 2) I reviewed and understand
all ofthe information contained in my privacy release and submitted with it 3) all of this inférmation is complete, true, and correct. I authorize USCIS to release information contamed
inmny USCIS records relevant to checking my case status to the extent permitted by law to my Member of Congress and relevant staff 1 understand that I amnot required to make
paynoent im any form for the services provide by my Member of Congress.

Date/Time
122/021 3:48:10 PM

 

* Signature

Maeed Alazawi

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 23 0f60 Page ID #:23

Associate 3

 

 

ae si
From: MJS <alazawy62@gmail.com> ,
Sent: Tuesday, March 16, 2021 5:11 PM
To: Associate 3
Subject: Fwd: Case Number: AMM2016771006

FYI

wos------ Forwarded message ~--------

From: Villa, Laura <Laura,Villa@ mail.house.pov>
Date: Mon, Jan 25, 2021 at 11:02 AM

Subject: Case Number: AMM2016771006

To: MJS <alazawy62@gmail.com>

Good Morning Mr. Sir, *

| wanted to let you know that | sent your case update request to the Liaison. As soon | hear from him, | will let you know
what he says. | addition, thank you for sent your previous email. | will continue working on your case as Kim Mesen did.

Respectfully,

Laura Villa
Case 5:21-cv-00491 Document 1 Filed 03/22/21 Page 24 of 60. Page ID #:24

Associate 3

 

 

res i
From: MJS <alazawy62@ gmail.com>
Sent: Tuesday, March 16, 2021 5:07 PM
To: Associate 3
Subject: Fwd: FW: Congressional Inquiry: Al Azawi

FYI

---------- Forwarded message --—---- ;

From: Mesen, Kimberly <Kimberly.Mesen@mail.house.gov>
Date: Wed, Dec 2, 2020 at 9:53 AM

Subject: FW: Congressional Inquiry: Al Azawi

To: MIS <alazawy62 @gmail.com>

Good Morning Mr. Azawi,

Below is the update received from the Embassy,

| apologize but according to them the two cases remain in Administrative Processing and no exact date of completion
can be given. | will make sure that the incoming member of Congress that will be representing the 8" District is aware of
your family’s situation and | will fully brief them on the case. Mr. Azawi | apologize that we have not received a favorable

response as | was very hopeful that we would get to see through the conclusion of this case. If you have any questions,
or if | can be of any assistance in the time that we have left in office, don’t hesitate to ask.

Best,

Kimberly Mesen

Deputy District Director

Congressman Paul Cook | Eighth District of California
14955 Dale Evans Pkwy| Apple Valley, CA 92307

p. 760.247.1815 | f. 760.247.8073

  

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 25o0f60 Page ID#:25

From: Amman, Congressional

Sent: Wednesday, December 2, 2020 1:46 AM

To: Mesen, Kimberly <Kimberly. Mesen@ mail. house.gov>
Subject: Re: Congressional Inquiry: Al Azawi

Dear Ms. Mesen,
Thank your email regarding the immigrant visa case for Ms. Huda Al Rubaye and Mr. Abdulrahan Al Azawi.

Unfortunately, the case is still pending mandatory administrative processing. Visa processing requirements occasionally
necessitate longer delays for some applicants. Embassy Amman is unable to affect the timing of this processing as it is
handled by the Visa Office in conjunction with our inter-agency partners. While we regret we do not have more positive
news to share, please be assured that as soon as we have any updates, we will contact the Al Azawi family immediately.

Please note, due to the current COVID-19 situation in Jordan, the U.S. Embassy in Amman has suspended routine
immigrant visa processing for all visa categories as of November 8, 2020 until further notice. This suspension of services
may delay case processing at this time.

We apologize for the inconvenience and appreciate your understanding during this time. Should you have any further
questions or comments, please feel welcome to contact us anytime.

Please encourage your constituent to continue to monitor our website for the most current information regarding
resumption of services at: https://io.usembassy.gov/visas/immigrant-visas/.

Recent updates from the Embassy on COVID-19 in Jordan with links to other useful sites can be found
at: https://jo.usembassy.gov/covid-19-information/.

Sincerely,

 
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Consular Section

US Embassy Amman

 

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 27.0f 60 Page ID #:27

Associate 3

 

a a a
From: MJS <alazawy62@gmail.com>
Sent: Tuesday, March 16, 2021 5:00 PM
To: Associate 3
Subject: Fwd: FW: Letter from the Department of State - Cook
Attachments: H20201006-000_ Cook.pdf

~------- Forwarded message ---------

From: Mesen, Kimberly <Kimberly.Mesen@mail.house.gov>
Date: Tue, Oct 27, 2020 at 11:52 AM

Subject: FW: Letter from the Department of State - Cook

To: MJS <alazawy62@gmail.com>

Good Morning Mr. Al-Azawi,

Attached is.a letter received from Department of State regarding the letter of support our office sent up to their main
DC office.

While it might not provide a definite approval of the cases, | wanted to provide it for your records. If you have any
questions feel free to let me know.

Best,

Kimberly Mesen

Congressman Paul Cook | Eighth District of California

From: Tavares, Joe <Joe.Tavares@mail.house.gov>

Sent: Tuesday, October 77, 2020 7:20 AM

To: Mesen, Kimberly <Kimberly.Mesen@mail.house.gov>
Subject: FW: Letter from the Department of State - Cook
Importance: High

VA

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 28 of 60 Page ID #:28

Hi Kim!
Are you handling immigration casework? This is a letter from the State Department regarding a visa.

Joe Tavares
Scheduler/Legislative Assistant
Congressman Paul Cook | Eighth District of California

1027 Longworth | Washington, DC 20515
p. 202-225-5861 | f. 202-225-6498

Joe. Tavares@mail.house.gov

From: Congressional Correspondence

Sent: Monday, October 26, 2020 4:23 PM

To: Tavares, Joe <Joe.Tavares@mail.house.gov>
Subject: Letter from the Department of State - Cook
Importance: High

Thank you for your recent inquiry to the Department of State. Please see the attached response to your
correspondence.

If your office would like to update the contact information for the person receiving responses from the Department of

State, please reply to this email with the name and email address of the appropriate staff member.

Sincerely,

Bureau of Legislative Affairs

Department of State

(Z

 
Case 5:21-cv-00491 Document1 Filed 03/22

Octeber 1

 

The Honorable

Paul Cook

14955 Dale Evans Parkway
Apply Valley Town Hall
Apple Vailey, CA 92307

Dear Mr. Gook:

 

Thank you for your September 9 letter supporting the expedite
Immigrant visas (SIVs) of the spouse, Ms. Huda Al Rub ye,
Azawi, of Mr. Meaad Al-Azawi in Jordan, -

The Department of State is committed to supporting those who
other government personnel perform their duties, often at great
their families. Everyone involved in this process, whether in

United St

Washingt

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an

tes Department
mn, D.C. 20520

, 2020

| processing of the
d son, Mr. Abduls:

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21 Rage 290f60 Page ID #:29

of State

Special

abman Al

 

have helped U.S.
personal risk to

abroad, is fully aware of how much we owe our Afghan and Iraqi colleagues and

face. The Department fully supports both the Iraqi DAP and tt

We recognize Mr. Al Azawi’s frustration with the current proc
As your Jetter notes, these cases have been pending for séme ti

im

ems
‘ashington or at our embassies

ilitary and

elves and

¢ risks they

8 Afghan SIV program.

desing of his family’s SIV cases.
me. We should stress however,

that any immigrant visa process is a lengthy one. While we cannot predict when the processing

of Ms. Al Rubaye’s and Abdulrahman’s visas will be complete
U.S. Embassy in Amman, Jordan, the Department of State, an
are aware of his concems and will work to complete prodessin
possible,

 

The information regarding these visa cases is protected fi
the INA, 8 U.S.C. 1202(f), and in accordance with that la

d, please be assured that the
(our partners from! other agencies
g on these cases as|soon as

om di: 3 closure under section 222(f) of
w, may only be used for the

“formulation, amendment, administration, or enforcement of ihe immigration, nationality, or

other laws of the United States.” As you have inquired o

H behalf of the applicants, our

disclosure to you of the above information from the visa tecord; which information could be

made available to the visa applicants, is consistent with INA se
and you may share this information with Mr. Al Azawi.

 

 

 

stion 222(), 8 U.S.

C. 1202(f),

13

 
Case 5:21-cv-00491 Document1 Filed 03/22

-2u

We hope this information is helpful to you. Please let us know if we may be of fu

assistance,

Sincerely,

Cristin Heinbeck |
Outreach and Inquiries Division
Visa Services |

 

21 Page 30 of 60 Page ID #:30

 

 

 

ther

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 31o0f60 Page ID#:31

Associate 3
ed

From: MJS <alazawy62@gqmail.com>

Sent: Tuesday, March 16, 2021 4:53 PM

To: Associate 3

Subject: Fwd: FW: Congressional Inquiry: Al Azawi
FYI Mr Miichael

----—-~ Forwarded message --------- ,
From: Mesen, Kimberly <Kimberly,Mesen@mail.house.gov>
Date: Wed, Aug 19, 2020 at 10:41 AM

Subject: FW: Congressional Inquiry: Al Azawi

To: MJS <alazawy62@gmail.com>

Good Morning Mr. Al Azawi,

Please see the below information provided by the National Visa Center. Did the Embassy in Amman inform you or your
wife that they needed updated passport information?

If they did, has this already been submitted? Please let me know when you get a chance.

Best,

Kimberly Mesen

Constituent Services Director

Congressman Paul Cook | Eighth District of California
14955 Dale Evans Pkwy| Apple Valley, CA 92307

p- 760.247.1815 | £. 760.247.8073

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 32 0f 60 Page ID #:32

From: NVC Congressional

Sent: Tuesday, August 18, 2020 9:32 PM

To: Mesen, Kimberly <Kimberly, Mesen@mail.house.gov>
Subject: RE: Congressional Inquiry: Al Azawi

Kimberly:

Thank you for your email concerning the special immigrant visa petition filed -by and on
behaif of Meaad Jawhar Salman Al Azawi with assigned case number AMM2016771006.

We completed our processing of this case and forwarded it to the U.S. Embassy in Amman, .
Jordan on February 06, 2017. Department of State records show that Meaad Jawhar Salman
A| Azawi was interviewed at the U.S. Embassy on February 28, 2017,

According to Department of State records, the U.S. Embassy is requesting that the following
additional information be submitted for Huda Mohammed Ali Hamza Al Rubaye and
Abdulrahman Meaad Jawhar Al Azawi:

e Updated passport documentation. The passports currently on file at the U.S. Embassy
have expired.

Once the U.S. Embassy has received the aforementioned documentation, the U.S. Embassy
will be able to resume processing of this case. As this case is under the jurisdiction of the U.S.
Embassy in Amman, please direct any further inquiries to the U.S. Embassy.

Please be advised that unless specifically requested in your email, the National Visa Center
will not use information from forms you provide to update customer contact information in
our database. Applicants should provide updated contact information online at
http://nve.state.gov/inquiry or call the National Visa Center at (603} 334-0700 between 7:00
a.m. and midnight EST, excluding federal holidays.

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 33 0f 60 Page ID #:33

Please let me know if | can be of further assistance to your office or to your constituent.

Regards,

| Congressional Liaison

Department of State CA/VO/DO/NVC

This email is Sensitive but Unclassified based on the definitions provided in 12 FAM 540.

From: Mesen, Kimberly <Kimberly.Mesen@mail. house.gov>
Sent: Thursday, August 13, 2020 1:32 PM

To: NVC Congressional
Subject: FW: Congressional Inquiry: Al Azawi

Dear Congresstonal Liaison,

Attached is a privacy release form provided on behalf of Mr. Al-Azawi’s wife and son. Their application for visas has been
in administrative processing for 3 years and our office would like to reach out to the National Visa Center to see if there
is any additional information or insight that can be provided on the case? Mr. Al-Azawai was granted a visa for his work
in assisting the U.S. government in Iraq, causing him to have to flee with his family because he was being targeted for
doing so. Mr. Al-Azawi's visa was processed quickly, but his wife’s and son was not and they have since been separated.

Any information and/or assistance that can be provided is appreciated.
Best Regards,
Kimberly Mesen

Constituent Services Director

Congressman Paul Cook | Eighth District of California

\t

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 34o0f60 Page ID #:34

14955 Dale Evans Pkwy| Apple Valley, CA 92307

p. 760.247.1815 | f. 760.247.8073

 

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From: Amman,
Sent: Thursday, August 13, 2020 4:56 AM

To: Mesen, Kimberly <Kimberly.Mesen@mail. house.g gOV>
Subject: RE: Congressional Inquiry: Al Azawi

Dear Ms. Mesen,

Thank you for your August 12th email regarding the immigrant visa case for Mr. Meaad Al-Azawi.

Unfortunately, this case remains under mandatory administrative processing. Visa processing requirements occasionally
necessitate longer delays for some applicants. Embassy Amman is unable-to affect the timing of this processing as it is
handled by the Visa Office in conjunction with our interagency partners. While we regret we do not have more positive
news to share, please be assured that as soon as we have any updates, we will contact Mr. Al-Azawi immediately. -

We greatly appreciate your continued assistance in reiterating this information and hope this information is useful in
responding to your constituent’s inquiry.

Sincerely,

Consular Section

US Embassy Amman

SBU -PRIVACY OR PI
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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 35o0f60 Page ID #:35

Associate 3

 

 

 

— = “

From: MJS <alazawy62@gqmail.com>

Sent: | Tuesday, March 16, 2021 5:10 PM

To: Associate 3

Subject: . Fwd: Case Number: AMM2016771006

Attachments: ABDULRAHMAN new passport 2018,jpg; ABDULRAHMAN iraqi nationality certificate
Arjpg; ABDULRAHMAN iraqi nationality certificate Eng,jpg; HUDA new passport 2018
(Jpg

moeeeannne Forwarded message -----—--

From: MIS <alazawy62 @gmail.com>
Date: Sat, Mar 23, 2019 at 11:15 PM

Subject: Case Number: AMM2016771006

To: <support-jordan@ustraveldocs.cam>

Dear Sir/Madam:

Kindly be informed that | am the principal applicant my visa issued on April 5, 2017, and now am in the USA but my wife

and my son visa case status on the website appear administrative processing, in spite of that ali of us have
been interviewed in the US embassy in Amman on Feb 28, 2017.

1- My son Abdulrahman has renewed his passport because the old one has been expired attached copy for a new
passport.

2-Abdulrahman renew his traqi nationality certificate because the old one was Issued when he so young attached copy
for a new lraqi nationality certificate in Arabic and English translated.

3-My wife Huda renewed her passport because the old one has been expired attached copy for a new passport.

Best Regards
Principal Name:Meaad Jawhar Al azawi

Date of Birth 09/05/1961

 
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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 37 of 60 Page ID #:37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Website: Borgbabel.com Email: Bor gbabel@yahéo. cont

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 38 of 60 Page ID #:38

 

 

 

 

 

 

 

 

 

 

 

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Associate 3

 

 

/ A Ea
From: MJS <alazawy62@gmail.com>
Sent: Tuesday, March 16, 2021 4:55 PM
To: Associate 3
Subject: Fwd: FW: Congressional Inquiry: Al Azawi

Mr Michael FYi

cee Forwarded message ——-----

From: Mesen, Kimberly <Kimberly.Mesen@ mail. house.gov>
Date: Wed, Feb 20, 2019 at 4:46 PM

Subject: FW: Congressional Inquiry: Al Azawi

To: MJS <alazawy62 @gmail.com>

Mr. Azawi,

Please see the below response we received from the Embassy.

Our office is working on drafting a letter of support/urgency to send to both the Embassy and the Department of State.

Once completed, | will let you know and also provide you with a copy.

Best,

Kimberly Mesen

Office of Congressman Paul Cook
8th District of California

14955 Dale Evans Parkway
Apple Valley, CA 92307

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 41 0f60 Page ID #:41

Subject: RE: Congressional Inquiry: Al Azawi

Dear Mr. Imeri-Garcia and Ms.Mesen,

Greetings from Embassy Amman.

Thank you for contacting us for an update regarding Mr. Al Awazi’s case. Unfortunately, this case continues to be under

administrative processing. We understand the humanitarian impact that this delay is causing to Mr. Al Awazi’s family,

we hope your office can appreciate that this lengthy clearance process is the only way to ensure national security in the

visa process, We have reached out to the visa office to inquire about the delay and inform our clearing partners about Mr.
Alzawi’s son’s health situation.

As you know from our previous correspondences, the Embassy is unable to affect how long this processing takes as it is
conducted by the visa office in conjunction with our interagency partners, We remain, however, the best contact for
inquiries about immigrant visa cases. We hope this information is useful in responding to your constituent’s

inquiry. Should you have any further questions or comments, please feel welcome to contact us.

Please assure the family that once an update on their case is available, we will be in contact immediately.

Sincerely,

Consular Officer

US Embassy Amman

 

 

From: Imeri-Garcia, Joshua
Sent: Friday, January 25, 2019 12:44 AM

2S

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 42 of 60 Page ID #:42

To: Amman
Cc: Mesen, Kimberly
Subject: RE: Congressional Inquiry: Al Azawi

Good afternoon,

lam sending a follow up email regarding Mr. Al Azawi’s case. | understand that the case is still pending mandatory
administrative processing that is becoming to seem a bit unusual. Mr. Al Azawi’s son has been diagnosed with testicular
cancer and is undergoing further treatment, i am including those documents to be added to the recorded case. To my
understanding, Mr. Al Azaw has been loyal to the United States and has put himself and his family in great risk by aiding
the U.S government.

Unfortunately, | am transferring to another office and the point of contact regarding this case will be Kimberly Mesen,
Kimberly. mesen@mail.house.gov. Please send any updates and correspondence to her. Some resolve on this matter will
be helpful and any information you may provide is appreciated,

All the best,

2G

 
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Associate 3

 

 

a a a
From: MJS <alazawy62@gmail.com>
Sent: Tuesday, March 16, 2021 5:18 PM
Ta: Associate 3
Subject: Fwd: Privacy Release Forms
Attachments: Abdo.jpg
FYI

moconeene Forwarded message ---------

From: MUS <alazawy62@gmail.com>
Date: Mon, Jan 28, 2019 at 10:44 AM

Subject: Fwd: Privacy Release Forms
To: kimberly. mesen@mail.house.gov <kimberly.mesen@mail.house.gov>

---------- Forwarded message --—------

From: MJS <alazawy62 @gmail.com>
Date: Fri, Jul 27, 2018 at 1:06 PM

Subject: Re: Privacy Release Forms
To: Imeri-Garcia, Joshua <Joshua.Imeri-Garcia(@mail.house.gov>

Dear Joshua ,

I’m contacting you in regard of my companions SIV case (my spouse Huda and my son Abdulrahman) which is still pending
administrative processing since our interview in Feb.2017.

| entered the United States on May, 2017 and I’m a legal permanent resident (LPR) since June 2017, but unfortunately,
my wife HUDA and my son ABDULRAHMAN are still waiting for their visas (SQ) which are still pending administrative
processing, while they as companions supposed to join me within six months after | (the principle applicant) enters the
USA {according to the definition of the companion applicant in USA immigration law).

| understand that this administrative processing it takes even more than 120 days as USCIS website indicates, (in our case
it takes more than 16 months),but in addition that we as a family were experiencing a humanitarian hardship due to the
family separation, now we are experiencing new extreme humanitarian hardship which made me write this email to
you urgently to inform you about what we are facing :

| was waiting for my wife (her B2 via is valid till 30 sep.2018) to come to USA in 19th of July to be with our daughter Ragda
as she will have her first baby in about two months, but suddenly my son Abdulrahman faced Critical health condition, the
doctors agreed that he needs an urgent surgery due to presence of tumors in the testicular, he had a Surgery on
Wednesday 25th of July, then tumor needs to be sent to the laboratory to check if its Cancer tumor or not, attached you
can find the doctor's reports after the surgery in king Hussein cancer center in Amman, | will send you an official report
as soon as | get it.

ZT

 
 

Case 5:21-cv-00491 Document 1 Filed 03/22/21 Page 44o0f60 Page ID #:44

Due to this situation my wife canceled her flight, and | had to come to AMMAN to be with her and with my son, as we
don’t know what will happen in the next few days, but it seems that we will experience a hard time due to such situation,
that why we as a family need to be together, my son hasn’t met his sisters since 2016, in such humanitarian hardship he
needs to be supported and surrounded by all of us.

As you see, the SIV Procedures delay destroys our lives; because in addition to the family separation and all of its
consequences, | strongly believe that my son ABDULRAHMAN got this situation because of his depression.

| need to be heard by someone in the embassy, but | Don't know how to get there, last time | contacted the USCIS office
in Amman, | didn't get any useful response.

In addition, | would like to bring to your attention that my son will be turning 21 on November 14th, 2018 {aging-out}. So
| would also like to know the procedural consequence in regards to my son’s case when he turns 21 and if the Child
Status Protection Act (CSPA) applies to his case.

Pray for my son
Any help or advice from your side will be highly appreciated.
Thank you,

Regards,

Mr. MEAAD JAWHAR SALMAN AL AZAWI

12445 Basswood Lane VictorVill CA 92395

SIV Case Number: AMM2016771006
Principal applicant: MEAAD JAWHAR SALMAN ALAZAW!
Date of birth: 09/05/1961

On Wed, Jun 20, 2018 at 4:10 PM, Imeri-Garcia, Joshua <Joshua.Imeri-Garcia@ mail.house.gov> wrote:

Good afternoon Mr. Alazawi,

| have read through the summary you provided our office through our website. | can submit a formal inquiry to the

_ Department of State and try to find out any more information about your wife and son’s case. However, | do require a
| privacy release form to be filled out by you, your wife and your son. | have included a blank privacy release form to this
email. Please provide a brief timeline of events in the summary portion.

2B

 
 

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If you have any further questions please feel free to contact me.

All the best,

Joshua Imeri-Garcia

Field Representative
Congressman Paul Cook
CA 8! Congressional District
(760) 247-1815 - Phone

(760) 247-8073 - Fax

  

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Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 47 of 60 Page ID #:47

 

Associate 3
Meee eee eee a
From: MIS <alazawy62@gmail.com>
Sent: Tuesday, March 16, 2021 5:19 PM
To: Associate 3
Subject: Fwd: update : URGUNT AMM2016771006
Attachments: 37418540_20133893 1873517 1_9046104253919133696_n,jpg; abdulrahman medical
report.pdf
FYI

---+------ Forwarded message ---------

From: Huda M.ali <architect_huda@ymail.com>
Date: Tue, Aug 14, 2018 at 10:41 AM

Subject: update : URGUNT AMM2016771006

To: support-jordan@ustraveldocs.com <support-jordan@ustraveldocs.com>

Cc: MUS <alazawy62@gmail.com>, Farah Alazzawy <farah_ alazzawy@yahoo.com>, Farah Me3ad
<fara7_fm@vyahoo.com>

Following up with my husband's (Meaad Jawhar Salman Alazawi) latest email dated on 7/21/2018 6:37
PM, | would like to notify you about the latest changes in our circumstance in regards to my
son’s( ABDULRAHMAN) medical condition.

My son had a surgery on 23" of July 2018, and unfortunately the histopathology results showed that
the tumor is not benign and that it is cancerous. Kindly have the attached the official medica! report
from King Hussein Cancer Center (KHCC) for full details, The report attached clearly indicates that he
is a patient at King Hussein Cancer Center (KHCC) and needs regular follow up every three months.

It would easily come to one's mind that such an unexpected and shocking incident came heavy to my
family during a time that we are suffering from multiple hardships on multiple levels; both physically and
emotionally. We, as a family, are in most need of one anothers support but Sadly my three
daughters(FARAH, RAGDA, NOOR) cannot come to Jordan, RAGDA is pregnant; | intended to travel
to the US to be with her during her delivery, but | now canceled such plans due to my son’s sickness.
NOOR has an expired passport; a lengthy process that takes months to renew, and my third daughter
FARAH is engaged in a full-time job and her request for a leave was denied.

In addition, | would like to inquire if whether | can add my son to my B2 visa renewal. As you may know,
cancer is a disease that is highly related to the mental and emotional wellbeing of a person and my son
is going through a highly depressive state, | see him withering each and every day but the idea of him
being surrounded, supported and us being united as one family is very crucial to his healing
process,even if the family gathering will be for a while and even that | know that I'm taking the risk that
the visa denial! will affect his health, but I'm ready to take the chance as I'm very: sure that this visit
would greatly lift up his spirit and improve his emotional state as a step taken towards his healing
process.

Any help or advice from your side would be highly needed and appreciated.

 
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King Hussein Cancer Center

Date: August 9, 2018

Medical Report

Patient Name : Abdulrahman Meaad Jawhar Alazawi
MEN : 157110
Age : 20 years

Abdulrahman is a 20 year-old male patient, presented to King Hussein Cancer
Center (KHCC) with right testicular mass since 4 months with normal tumor
markers (AFP and BHCG) scrotal us showed, right testicular mass 4x3x4_ cm.
Chest abdomen and pelvis CT scan showed no evidence of visceral metastasis or
significant lymph node enlargement.

He underwent right. inguinal radical orchiectomy on July 23, 2018.
Histopathology result showed:
° Malignant mixed germ cell tumor (Teratoma 50%, Semimoma 511%). Tumor
deposit is seen in the spermatic cord margin.
e Lymphovascular invasion present.
e Pathologic stage is (pTo{m)N\).

The case was discussed in Genitourinary Multidisciplinary Clinic (GU-MDC), the
pian was to be pive 2 evcles of chemotherapy,

He needs regular follow up every three months.

Alj AL-Daghmin, MD,
Urologic Oncology & Robotic Surgery Consultant
King Hussein Cancer Center
Amman -Jor
Tel. (962) 6 aaneg Ext.1673
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Case 5

 

 

 
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 51of60 Page ID#:51

Associate 3

 

 

 

sa anne
From: MUS <alazawy62@qmail.com>
Sent: Tuesday, March 16, 2021 5:27 PM
To: Associate 3
Subject: Fwd: From the Desk of Congressman Don Young
FYI
senmoncone Forwarded message ---------
From: Rep. Don Young, Congressman for All Afaska <tara.risinger@mail.house.gov>
Date: Mon, May 21, 2018 at 9:55 AM
Subject: From the Desk of Congressman Don Young
To: Mr. Maeed J. Alazawi <alazawy62@gmail.com>
DON YOUNG 4 NATURAL RESOURCES
CONGRESSMAN FOR ALL ALASKA
WASHINGTON OFFICE: reasons HESNSTRUCTURE
WASHINGTON, DC 20515 REPUBLICAN
POLICY COMMITTEE

202-225-5765
Cenugeess of the

House af Wepre

Mashinagl oa, HL 20515

May 21, 2018

Mr. Maeed J. Alazawi
12823 Ist Ave
Victorville, CA 92395-8523

Dear Mr. Alazawi,

 

 
 

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tseilsithes

In response to the congressional inquiry sent to the National Visa Center on your behalf, They
recently sent the below email explaining the status of your families special immigrant visas.

i

At this point in time, there is nothing further my office can do. I cannot force the embassy to
expediate or make a decision on these cases, However, I will continue to follow up on this case

- every couple of months to inquire of the status. Should you receive any new information or updates,
I would appreciate it if you would keep me informed so I may better assist you.

 

 

 

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From: NVC Congressional, Mailbox
Sent: Monday, May 21, 2018 5:35 AM

To: Risinger, Tara <Ta ra.Risinger@mail.house.gov>
Subject: RE: From the Desk of Congressman Don Young

Tara:

Thank you for your email concerning the special immigrant visa petition filed on

‘behalf of Meaad Jawhar Salman Al Azawi and assigned case number

AMM2016771006. We completed our processing of this case and forwarded it to
the U.S. Embassy in Amman, Jordan on February 6, 2017. Department of State
records show that Meaad Jawhar Salman Al Azawi and his, family were interviewed
at the U.S. Embassy, on February 27, 2017.

Depariment of State records also indicate that while Meaad Jawhar Salman Al
Azawi wais issued his special immigrant visa on April 5, 2017, the rest of the
derivative applicants on this case are undergoing administrative processing in
order to verify the qualifications for Huda Mohammed Ali Hamza Al Rubaye's,
Farah Meaad Al Azawi's, Noor Meaad Al Azawi's, Ragda Meaad Al Azawi's, and
Abdulrahman Meaad Jawhar Al Azawi's special immigrant visas.

We understand your consitituent’s frustration at the delay; however, a decision on
this case cannot be made until the U.S. Embassy finishes their review. U.S.
Embassies and Consulates issue visas in accordance with criteria specified in the
Immigration and Nationality Act (INA}, and a visa may only be issued if all the
documentary requirements have been met, and the applicant is eligible under U.S.
Immigration law. While we cannot predict when the processing of Huda
Mohammed Ali Hamza Al Rubaye's, Farah Meaad Al Azawi’s, Noor Meaad Al
Azawi's, Ragda Meaad Al Azawi’s, and Abdulrahman Meaad Jawhar Al Azawi's
visas will be completed, please be assured that the U.S. Embassy is aware of your
concerns and will do all that they can to see that the visa is adjudicated as soon as
the processing of Huda Mohammed Ali Hamza Al Rubaye’s, Farah Meaad Al
Azawi's, Noor Meaad Al! Azawi's, Ragda Meaad Al Azawi’s, and Abdulrahman
Meaad Jawhar Al Azawi’s case has been completed.

Please be advised that unless specifically requested in your email, the National Visa
Center will not use information from forms you provide fo update customer contact
information in our database. Applicants should provide updated contact
information online at nve.state.gov/ask or call the National Visa Center at (603)
334-0700 between 7:00 a.m. and midnight EST.

Please let me know if | may be of further assistance fo your office or your
constituent.

Kindest Regards,

 

 
 

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Brianna | NVC Congressional Unit

National Visa Center

Sincerely,
DON YOUNG

Congressman for All Alaska

DY/TR
471 W. 36th Avenue
Visit Our Website Suite 201
donyoung.house.qov Anchorage, AK 99503

907-271-5978

100 Cushman Street
Suite 307
Fairbanks, AK 99701
907-456-0210

Call Toll-Free
1-866-990-5979

 

 

Dt
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page 54o0f60 Page ID #:54

Associate 3

 

 

a a see)
From: MJS <alazawy62@gmail.com>
Sent: Tuesday, March 16, 2021 5:24 PM
To: Associate 3
Subject: Fwd: In Response to Your Inquiry (Intranet Quorum iMA00115839)
Attachments: _ 1QFormatFile.txt
FYI

—---—--- Forwarded message ---------

From: Senator Dan Sullivan(imailagent) <casework_sullivan@sullivan.senate.gov>
Date: Thu, May 3, 2018 at 4:55 PM

Subject: In Response to Your Inquiry (Intranet Quorum IMA00115839)

To: <Alazawy62@zmail.com>

DAN SULLIVAN 702 HART SENATE OFFICE BUILDING
Alaska WASHINGTON, DC 20510
(202) 224-2004

Guited States Senate

Dear Mr. Alazawi,

Thank you fer contacting my office on May 1, 2018; | regret to hear about your situation with
Department of State which prompted you to seek my assistance. However, your address indicates
you are not a resident of Alaska. It is Congressional courtesy that constituent cases be handled by
the constituent’s own elected representative. ,

| have forwarded your inquiry to Senator Kamala Harris and Senator Dianne Feinstein and they can .
be reached at the following lacation:

Senator Kamala Harris

112 Hart Senate Building
Washington, DC 20510-0001
202-224-3553

Senator Dianne Feinstein
11? Hart Senate Building
Washington, DC 20510-0001
202-224-3841

| regret | was unable to assist you and hope you will find a resolution to your situation soon. Thank
you again for reaching out to me.

S38

 
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Sincerely,

Dan Sullivan
United States Senator

 

 

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Associate 3

 

 

anaes A ana sae |
From: MJS <alazawy62@gmail.com>
Sent: Tuesday, March 16, 2021 5:31 PM
To: Associate 3
Subject: Fwd: FW: Updated Letter
Attachments: Meaad Al-Azawi fetter for Congressional Representatives edited.docx
FYI

——------ Forwarded message ---------

From: Jacob Dutton <jdutton@cascadialawalaska.onmicrosoft.com>
Date: Wed, Apr 25, 2018 at 12:11 PM

Subject: FW: Updated Letter

To: alazawy62@gmail.com <alazawy62@gmail.com>

Cc: Margaret Stock <MStock@cascadialawalaska.com>, Haley Dampier <HDampier@cascadialawalaska.com>

From: Jacob Dutton .
Sent: Wednesday, April 25, 2018 11:09 AM
To: 'farah_alazzawy@yahoo.com' <farah alazzawy@vyahoo.com>

Cc: Margaret Stock <mstock@CASCADIALAWALASKA.COM>; Haley Dampier <hdampier@CASCADIALAWALASKA.COM>;

Emily Casto <ECasto@CASCADIALAWALASKA.COM>
Subject: Updated Letter

Hello Mr. Alazawi,

!was asked by Ms. Casto to update your letter and email it back to you to be signed. You will find it attached, please
review and sign.

Thank you,
Jacob Dutton

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Jacob Dutton Cascadia Cross-Border Law

Paralegal Assistant 4141 B Street, Suite 205

AO
Case 5:21-cv-00491 Document1 Filed 03/22/21 Page57of60 Page ID #:57

907.242.5800 business Anchorage, AK 99503
360.676.5459 fax USA
idutton@cascadialawalaska.com www.CascadigLawAlaska.com

 

Creating Transparent Borders

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address. For more information, see https://egov.uscis.gov/coa/displayCOAInitForm.do

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EXHIBIT C
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2 Queen Rania Al Abdulfah St, 2.0. Box 1269 Al -Jubetha Amman,
Tel: +(962-6) 53 00 460, Fax: +(962-6) 53 42 567, E-mai

 
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